      Case 2:19-cv-00514 Document 1 Filed 07/23/19 Page 1 of 9 PageID 1




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA

                                        CASE NO.:

JOHN MORALES,

        Plaintiff,

vs.

ALLURE SUITES,

        Defendant.
                                           /

                     COMPLAINT FOR DECLARATORY AND
                           INJUNCTIVE RELIEF

        Plaintiff, John Morales, brings this action against ALLURE SUITES

(“Defendant”):

                                   INTRODUCTION

1.      For more than 25 years, the Americans with Disabilities Act (“ADA”) has

required that individuals with disabilities be provided full and equal access to the goods,

services and facilities provided by hotel owners and operators.

2.      This mandate requires places of lodging to ensure that individuals with disabilities

can make reservations for accessible guest rooms during the same hours and in the same

manner as individuals who do not need accessible rooms.

3.      Defendant owns and/or operates the Allure Suites Hotel (the “Hotel” or the

“Subject Property”), and, as part of those operations, provides hotel customers online

reservations
     Case 2:19-cv-00514 Document 1 Filed 07/23/19 Page 2 of 9 PageID 2




services   via     its   website   (hereinafter   the   “Website”   which   shall   refer   to

www.alluresuitesfortmyers.com and any other website operated by, controlled by, or

acting at the direction of Defendant directly, or through contractual, licensing, or other

arrangements, for the purposes described herein). Defendant’s Website reservations

systems fail to provide information about the accessible features of the Hotel and its

rooms to persons with disabilities.

4.     As such, Defendant has failed to make its reservations services fully and equally

accessible to individuals with disabilities, thereby denying those individuals the same

benefits and privileges afforded to guests without disabilities.

5.     Plaintiff accordingly seeks declaratory and injunctive relief establishing that

Defendant has engaged in violations of the ADA, and requiring Defendant to comply

with the ADA by providing individuals with disabilities accessible reservations services

that are in all relevant aspects the same as the reservation’s services provided to non-

disabled guests.

                               JURISDICTION AND VENUE

6.     The claims alleged arise under Title III such that this Court’s jurisdiction is

invoked pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

7.     Personal jurisdiction exists for Defendant because it manages and/or operates the

Hotel, located in Florida.

8.     Venue in the Middle District of Florida is proper under 28 U.S.C. § 1391(b)(2) in

that all the events giving rise to the lawsuit occurred in Lee County, Florida.
      Case 2:19-cv-00514 Document 1 Filed 07/23/19 Page 3 of 9 PageID 3




                                        PARTIES

9.      Plaintiff John Morales, at all times relevant hereto, is and was a resident of Fort

Myers, Florida.

10.     Plaintiff has a mobility disability and is limited in the major life activities of

walking standing, bending, reaching, and grasping which has caused him to be dependent

upon mobility devices and aids for mobility.

11.     As Plaintiff requires an accessible hotel and hotel rooms in order to fully and

equally utilize services offered by hotels including the Hotel, he has a personal interest in

ensuring that hotels comply with federal requirements governing the provision of

accessible reservations services.

12.     Plaintiff is both a tester in this litigation and a consumer who wishes to obtain

equal access Defendant’s goods and services.

13.     Defendant Allure Suites is organized under the laws of Florida with its principal

place of business in Florida.

                                FACTUAL ALLEGATIONS

14.     Defendant owns, manages and/or operates the Hotel.

15.     As part of its operations, Defendant provides its customers and the public

reservations services, including, but not limited to, the ability to reserve rooms online via

the Website.

16.     Within the applicable limitations period, Plaintiff visited the Website to identify

the accessible features of the Hotel and its guest rooms to determine whether it met her

accessibility needs so she could reserve a room for an upcoming trip.
      Case 2:19-cv-00514 Document 1 Filed 07/23/19 Page 4 of 9 PageID 4




17.     Plaintiff was unable to independently ascertain the accessible features of the Hotel

and its guest rooms by reference to the Website as required by the ADA. 42 U.S.C.

§12182 et seq. and 28 C.F.R. § 36.302(e)(1) et seq. (“ADA Accessibility Standards”).

18.     An investigation performed on Plaintiff’s behalf confirmed the allegations made

by Plaintiff in paragraphs 16 through 17.

19.     The barriers to access on the Website, all encountered by Plaintiff, include but are

not limited to, the following:

        a)     The Website fails to disclose the physical barriers to access identified in

               the preceding section. These physical access barriers represent material

               elements of the Hotel that do not comply with applicable ADA Standards.

               Defendant’s failure to identify them prevents Plaintiff and other

               individuals with disabilities from independently determining if the Hotel

               meets his or her accessibility needs.

        b)     On the homepage on the Website there is a link labeled “About Us”,

               where there is a general description of the Hotel's location and features

               along with links for other services; however, none of the information

               provided relates to accessibility as required by ADA Accessibility

               Standards.

        c)     There is a section labeled "Amenities" which offers photos, a description,

               and a list of amenities for each of the Hotel's room and suite
      Case 2:19-cv-00514 Document 1 Filed 07/23/19 Page 5 of 9 PageID 5




               options; however, none of the information provided relates to accessibility

               as required by ADA Accessibility Standards.

        d)     Remaining links from the homepage do not contain information regarding

               accessibility as required by ADA Accessibility Standards.

        e)     When attempting to make a reservation, Plaintiff was unable to book a

               room because he was unable to find any information or room option

               pertaining to accessibility as required by ADA Accessibility Standards.

20.     Defendant’s failure to modify its policies, practices and procedures to ensure that

individuals with disabilities can make reservations for accessible guest rooms during the

same hours and in the same manner as individuals who do not need accessible rooms is

discriminatory and violates ADA Accessibility Standards.

21.     Plaintiff is a tester in this litigation and a consumer who wishes to access

Defendant’s good and services at the Hotel. Plaintiff is being deterred from patronizing

the Hotel on particular occasions but intends to return to the Hotel and the Website for the

dual purpose of availing himself of the goods and services offered to the public by the

Hotel and to ensure that Defendant ceases evading its responsibilities under federal law.

22.     However, the lack of accessible reservations services has deterred Plaintiff from

staying at the Hotel.

23.     Plaintiff has been, and in the absence of an injunction will continue to be, injured

by Defendant’s policy and practice of failing to provide accessible reservations services

to persons with disabilities.

                                   CAUSE OF ACTION

                         Violations of 42 U.S.C. §§ 12181, et seq.

24.     Plaintiff incorporates by reference the allegations stated in paragraphs “1” through

“23” of this complaint as if fully stated herein.
      Case 2:19-cv-00514 Document 1 Filed 07/23/19 Page 6 of 9 PageID 6



25.     Plaintiff brings this claim individually.

26.     Plaintiff is an individual with a disability under the ADA. 42 U.S.C. §

12102(1)(A).

27.     Defendant, a hospitality business, is public accommodation under the ADA. 42

U.S.C. § 12181(7).

28.     Title III of the ADA prohibits discrimination against individuals with disabilities

in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

or accommodations of any place of public accommodation by any person who owns,

leases (or leases to), or operates a place of public accommodation. 42 U.S.C. § 12182(a).

29.     Defendant operates online reservations systems through the Website within the

meaning of the ADA. 42 U.S.C. § 12181(3) and (4).

30.     For reservations systems, Defendant must meet the requirements of the ADA as

set forth in 28 C.F.R. § 36.302(e)(1) et seq.:

        (e)(1) Reservations made by places of lodging. A public accommodation that

        owns, leases (or leases to), or operates a place of lodging shall, with respect to

        reservations made by any means, including by telephone, in-person, or through a

        third party—

        (i) Modify its policies, practices, or procedures to ensure that individuals with

        disabilities can make reservations for accessible guest rooms during the same

        hours and in the same manner as individuals who do not need accessible rooms;

        (ii) Identify and describe accessible features in the hotels and guest rooms offered

        through its reservations service in enough detail to reasonably permit individuals

        with disabilities to assess independently whether a given hotel or guest room

        meets his or her accessibility needs;
      Case 2:19-cv-00514 Document 1 Filed 07/23/19 Page 7 of 9 PageID 7




        (iii)   Ensure that accessible guest rooms are held for use by individuals with

        disabilities until all other guest rooms of that type have been rented and the

        accessible room requested is the only remaining room of that type;

        (iv) Reserve, upon request, accessible guest rooms or specific types of guest

        rooms and ensure that the guest rooms requested are blocked and removed from

        all reservations systems; and

        (v) Guarantee that the specific accessible guest room reserved through its

        reservations service is held for the reserving customer, regardless of whether a

        specific room is held in response to reservations made by others.

31.     Defendant has engaged in illegal disability discrimination by, without limitation,

failing to ensure that reservations services offered on the Website are readily accessible

to and usable by individuals with disabilities, including individuals who use wheelchairs

or other mobility aids, and/or by failing to ensure that personnel are trained to proficiency

with respect to the provision of accessible reservations services.

32.     Moreover, by failing to provide accessible reservations services, Defendant has

engaged, directly, or through contractual, licensing, or other arrangements, in illegal

disability discrimination, as defined by Title III, including without limitation:

        a) denying individuals with mobility disabilities opportunities to participate in and

        benefit from the goods, services and facilities available at Defendant’s Hotel;

        b) affording individuals with mobility disabilities unequal access to goods,

        services or facilities;
      Case 2:19-cv-00514 Document 1 Filed 07/23/19 Page 8 of 9 PageID 8




        c) utilizing methods of administration that (i) have the effect of discriminating on

        the basis of disability; or (ii) perpetuating the discrimination of others who are

        subject to common administrative control;

        d) Failing to make reasonable modifications in policies, practices, or procedures

        where necessary to afford services, privileges, advantages, or accommodations to

        individuals with mobility disabilities.

33.     Defendant’s ongoing and continuing violations of Title III have caused, and in the

absence to an injunction will continue to cause harm to the Plaintiff and the class.

34.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set forth

and incorporated therein, Plaintiff requests relief as set forth below.

                                 PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests judgement as follows:

1.      A Declaratory Judgment that at the commencement of this action Defendant was

in violation of the specific requirements of Title III of the ADA described above, and the

relevant implementing regulations of the ADA, in that Defendant failed to take action

reasonably calculated to ensure that Defendant’s reservations services were fully

accessible to, and independently usable by, individuals with mobility disabilities;

2.      A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 C.F.R. §

36.302(e)(1) et seq. which directs Defendant to take all steps necessary to bring its

reservations services into full compliance with the requirements set forth in the ADA, and

its implementing regulations, so that those reservations services are fully accessible to,

and independently usable by, individuals with disabilities, and which further directs that
       Case 2:19-cv-00514 Document 1 Filed 07/23/19 Page 9 of 9 PageID 9




             the Court shall retain jurisdiction for a period to be determined to ensure that

             Defendant has adopted and is following an institutional policy that will in fact

             cause Defendant to remain fully in compliance with the law;

             3.     Payment of costs and reasonable attorneys’ fees as provided for by law;
             and

             4.      Such other additional or alternative relief as the Court finds just and
             proper.


                    Dated this 23rd day of July, 2019.

             Respectfully Submitted,

/s/ Alberto R. Leal.
Alberto R. Leal
Florida Bar No.: 1002345
The Leal Law Firm, P.A.
9314 Forest Hill Boulevard #62
Wellington, FL 33411
Phone: 561-237-2740
Facsimile: 561-237-2741
E-Mail: al@thelealfirm.com
Attorney for Plaintiff
